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                            UNITED STATES DISTRICT COURT
                                      FOR THE
                                 DISTRICT OF MAINE


 COMCAST OF MAINE/NEW HAMPSHIRE,
 INC., et al.,
        Plaintiffs,
                                                     CIVIL ACTION NO.: 1:19-cv-00410-NT
                v.
 JANET MILLS, in Her Official Capacity as
 the Governor of the State of Maine, et al.,
        Defendants.


                                    NOTICE OF APPEAL

       Please take notice that the State Defendants, Governor Janet T. Mills and Attorney

General Aaron M. Frey, who are both being sued in their official capacities, hereby appeal to the

United States Court of Appeals for the First Circuit from the Order on Plaintiffs’ Motion for

Preliminary Injunction dated December 20, 2019 (ECF No. 91), granting plaintiffs’ motion for a

preliminary injunction on Count II of their Complaint.

DATED: January 17, 2020                             Respectfully submitted,

                                                    AARON M. FREY
                                                    Attorney General

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this, the 17th day of January, 2020, I electronically filed the above

document with the Clerk of Court using the CM/ECF system which will send notification of such

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